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      4

      5   Attorney for Defendant,
          SURINDER SINGH NIJJAR
      6

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      8                             IN THE UNITED STATES DISTRICT COURT
      9                        EASTERN DISTRICT OF CALIFORNIA, FRESNO
     10                                            *****
     11
                                                     )   Case No.: CR-F-04-5356 AWI
     12   UNITED STATES OF AMERICA,                  )
                                                     )   STIPULATION TO MODIFY
     13                Plaintiff,                    )   DEFENDANT’S CONDITIONS OF
                                                     )   RELEASE
     14         vs.                                  )
                                                     )
     15   SURINDER SINGH NIJJAR,                     )
                                                     )
     16                Defendant.                    )
     17

     18         IT IS HEREBY STIPULATED between the Defendant, SURINDER SINGH NIJJAR,
     19   by and through his attorney-of-record, ANTHONY P. CAPOZZI, and Plaintiff, by and through
     20   Assistant United States Attorney, MARK E. CULLERS, that Defendant, SURINDER SINGH
     21   NIJJAR’s Conditions of Release set on December 28, 2004, be modified as follows:
     22

     23         1.     That Defendant, SURINDER SINGH NIJJAR, be allowed to work for a trucking
     24                company not owned by SURINDER SINGH NIJJAR nor Co-Defendant,
     25                AMRIPTPAL SINGH, and such employment may include:
     26                a.     Customer Service
     27                b.     Dispatching
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      1               c.     Booking of Loads
      2               d.     Delivery of Merchandise
      3

      4         Accordingly, it is requested that the Defendant’s Conditions of Release be modified.
      5                                                  Respectfully submitted,
      6   Dated: August 1, 2007
      7
                                                               /s/ Anthony P. Capozzi
                                                         Anthony P. Capozzi,
      8                                                  Attorney for Defendant,
      9
                                                         SURINDER SINGH NIJJAR

     10
          Dated: August 1, 2007
     11                                                         /s/ Mark E. Cullers
                                                         Mark E. Cullers,
     12
                                                         Assistant United States Attorney
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     19
                                                    ORDER
     20

     21
                IT IS SO ORDERED: Good cause having been shown, Defendant’s Conditions of
     22
          Release shall be modified to allow the Defendant to obtain employment with a Trucking
     23
          Company as set out above.
     24
          DATED:      August 14, 2007
     25                                                  __/s/ Oliver W. Wanger ___________
                                                         HONORABLE OLIVER W. WANGER
     26                                                  U.S. DISTRICT COURT JUDGE
     27

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